PROB 12C
11/03
                                 UNITED STATES DISTRICT COURT
                                               for the
                                  Middle District of North Carolina

               Petition for Warrant or Summons for Offender Under Supervision

Name of Offender:      BRIAN DAVID HILL                           Case Number:      1:13CR435-1
Name of Sentencing Judicial Officer:     The Honorable William L. Osteen, Jr.
Date of Original Sentence:               November 10, 2014
Original Offense:      Possession of Child Pornography in violation of 18 U.S.C. § 2252(A)(a)(5)(B) and
                       (b)(2).

Original Sentence:     Custody of the Bureau of Prisons for 10 months and 20 days, but not less than time
                       served, followed by 10 years supervised release.

                       April 29, 2015: Modification suspending mandatory drug testing was filed.

                       June 30, 2015: Supervised release violation hearing before the Honorable Thomas D.
                       Schroeder. Supervised release was continued with the additional special conditions
                       of six (6) months home incarceration and participation in a Cognitive Behavioral
                       Therapy program.

                       September 4, 2015: Report of Offender Under Supervision was filed.

Type of Supervision:     Supervised Release           Date Supervision Commenced: November 13, 2014
                                                      Date Supervision Expires: November 12, 2024


Assistant U.S. Attorney: Anand Prakash Ramaswamy                    Defense Attorney: John Scott Coalter

                                       PETITIONING THE COURT
[X]     To issue a warrant. For compelling reasons, this petition and Warrant shall remain sealed until
        the Warrant is executed. The Clerk shall provide a copy of the petition and Warrant to
        the U.S. Attorney's Office and the United States Marshal Office.
[]      To issue a summons

The probation officer believes that Mr. Hill has violated the following condition(s) of supervision:

Violation 1 - The defendant shall not commit another federal, state or local crime.

On September 21, 2018, Mr. Hill was arrested by the Martinsville Police Department in Martinsville, VA for
Misdemeanor Indecent Exposure. The offense date was September 21, 2018. Mr. Hill remains without
bond at the Martinsville City Jail as of the date of this report. Mr. Hill’s next scheduled court date is
December 21, 2018.

According to the police report, on the night of September 21, 2018, a report was received that a nude male
had been observed running on a public park trail within the city limits. Officers responded and made contact
with the male, later identified as Mr. Hill. Mr. Hill ran away from the officers and was shortly thereafter
detained near a creek. Mr. Hill advised the officers that a “black man in a hoodie” made Mr. Hill




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   RE: Brian David Hill                                                                                           2

 “get naked and take pictures of himself.” Mr. Hill was in possession of a camera which he voluntarily
allowed the officers to examine. The camera contained several nude photographs of Mr. Hill in different
locations around the city of Martinsville. Following an examination at a local hospital, Mr. Hill was medically
and psychologically cleared. Mr. Hill was subsequently arrested for Indecent Exposure, in violation of
Virginia Criminal Code § 18.2-37, a Class 1 Misdemeanor.




   U.S. Probation Officer Recommendation:

   [X]     The term of supervision should be
           [X]     revoked.
           []      extended for years, for a total term of years.

   []      The conditions of supervision should be modified as follows:




                                        I declare under penalty of perjury that the forgoing is true and correct.

                                                      Executed on        November 6, 2018




                                                                         Kevin M. Alligood
                                                                         U.S. Probation Officer Specialist



   Approved by:
                                                                              November 12, 2018

    Edward R. Cameron                                                         Date
    Supervisory U.S. Probation Officer




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